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UN|TED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF TENNESSEE
MEMPH|S D|VlSlON

FH.E-"D jj"f' __ ____4

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UN|TED STATES OF AMER|CA ROEERT P|_ 55 ncuc
CLEl"iK, U.S. Dlr-C_)`TFCT
_v_ 2:04CR20424_02_M| W,D. OF TN, M'._.vlaJHlS

DERR|CK N. THOMAS
Bruce Griffey, CJA
Defense Attorney
142 North Third Street, 3"" Floor
Memphis, TN 38103

 

JUDGMENT lN A CRIMINAL CASE
(For Offense`s Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 28, 2005.
Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiue & section Nat_ure.em§.§ Offense Number(sl
Concluded
18 U.S.C. § 1344 and 2 Bank Fraud 10/31/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

Counts 2 through 5 are dismissed on the motion of the United States.

|T lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant's Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 06/13/1978 June 22, 2005
Deft’s U.S. Marshal No.: 19988-076

Defendant's Mailing Address:
3809 N. Advantage Way, #306

Memphis, TN 38127 g m (O/Q/Q
JoN PH|PPs MccALLA
' uNl D sTATEs olsTRlcT JuooE

June 32 , 2005

 

This document entered on the docket sheet in com llanos
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lMPR!SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 3 months.

The Court recommends to the Bureau of Prisons: the defendant be incarcerated
at a facility near iV|emphis, TN.

The defendant is remanded to the custody of the United States Marshai.
As notified by the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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SUPERV|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of 4 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shaf| comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV¥S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation ocher as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation ocher;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment
6. The defendant shaii refrain from the excessive use of alcohol and shaft not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphema|ia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shaft not frequent places where controlled substances are illegaily sold, usedl
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit conhscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a

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law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal Monetary Pena|ties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of 3 Months.
Dun'ng this time, defendant will remain at defendants place of residence except for
employment and other activities approved in advance by the defendant's Probation Officer.
Defendant will be subject to the standard conditions of Home Detention adopted for use in
the Westem District of Tennessee, which may include the requirement to wear an electronic
monitoring device and to follow electronic monitoring procedures specified by the Probation
Officer. Further, the defendant shall be required to contribute to the costs of services for
such monitoring not to exceed an amount determined reasonable by the Probation Officer
based on ability to pay (or availability of third party payment) and in conformance with the
Probation Oche’s Siiding Scale for Eiectronic Monitoring Services.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

3. The defendant shall provide third-party risk notification

4. The defendant shall participate in Anger N|anagement counseling.

5. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Oche.

6. The defendant shall make full financial disclosure

7. The defendant shall be prohibited from incurring new credit charges, opening additional lines

of credit or making an obligation for any major purchase without the prior approval of the
Probation Officer.

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CRlMINAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine *Total Restitution
$100.00 $13,698.00

The Speciai Assessment shall be due immediateiy.
F|NE
No fine imposed.
*REST|TUT|ON

Restitution in the amount of *§13,698.00 is hereby ordered. The defendant shall
make restitution to the following victims in the amounts listed beiow.

Priority
Total Amount of Order
Name of Pa¥ee Amol.lnt Restitution Ol"del'ed or
of Loss Percentage
of Payment

F|RST TENNESSEE BANK $13,698.00 $13,698.00

*Restitution is to be paid joint and several with co-defendant Latonya R. Stephens. Defendant
is under a wage earner plan in Bankruptcy Court. if the defendant attempts to convert to Chapter 7
Bankruptcyl the amount of restitution above is to be paid first and is not dischargeable

if the defendant makes a partial payment, each payee shall receive an approximately proportional
payment unless specified othenivise in the priority order or percentage payment column above.

The amount of loss and the amount of restitution ordered will be the same unless, pursuant to 18
U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the Statement of Reasons

page.

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SCHEDULE OF PAYMENTS

Having assessed the defendants ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in reguiar monthly installments of not less than
10% of gross monthly income.

Uniess the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonmentl All criminal monetary penalties, except those payments made through the
Federai Bureau of Prisons’ inmate Financiai Responsibiiity Program, are made to the clerk of the
court, unless otherwise directed by the court, the probation officer, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UN1TED STESAT D1STR1CT COURT - WESRTE 1)181R1CT TNNESSEE

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 69 in
ease 2:04-CR-20424 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY
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3rd Fioor

i\/lemphis7 TN 38103

Carroil L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DlSTRlCT COURT

